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         EXHIBIT 61
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 2                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 3

 4
       UNITED STATES OF AMERICA,               )
 5                        Plaintiff            )
                                               )
 6     vs.                                     ) No. 1-19-CR-10080
                                               )
 7     GAMAL ABDELAZIZ and JOHN                )
       WILSON,                                 )
 8                        Defendants.          )
                                               )
 9                                             )

10

11
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
12                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 10
13

14
                   John Joseph Moakley United States Courthouse
15                               Courtroom No. 4
                                One Courthouse Way
16                         Boston, Massachusetts 02210

17

18                               September 23, 2021
                                     9:08 a.m.
19

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21
                           Kristin M. Kelley, RPR, CRR
22                         Kelly Mortellite, RMR, CRR
                             Official Court Reporter
23                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
24                         Boston, Massachusetts 02210
                            E-mail: kmob929@gmail.com
25
                   Mechanical Steno - Computer-Aided Transcript
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      1      Q.    In the law enforcement/informant relationship, you could

      2      have told him on a call to John Wilson, I want you to say we're

      3      going to pay a bribe to the coach.         You had the authority to do

      4      that, correct?

      5      A.    We could have told Mr. Singer to say that.

      6      Q.    And you never did?

      7      A.    We told Mr. Singer to say "bribe" --

      8      Q.    If you could answer my question.

      9      A.    No.    That's not correct.

03:25 10     Q.    You never did.

     11                   You told Mr. Singer to say "bribe" to Mr. Wilson?

     12      A.    We told Mr. Singer to use the word "bribe" in some

     13      conversations and he was reluctant to do so, so it was "payment

     14      to the coach".

     15      Q.    Well, who's running this investigation, Mr. Singer or the

     16      FBI and IRS?

     17      A.    We're running the -- the FBI and the IRS are running the

     18      investigation.     Mr. Singer was very reluctant to say the things

     19      that we wanted him to say.

03:25 20     Q.    So you let him veto who would hear the word "bribe" and

     21      who wouldn't?

     22      A.    We directed Mr. Singer to make calls and say "payment to

     23      the coach", and he did.

     24      Q.    But that's not my question.       That's not the question I was

     25      asking.     You have the authority to direct him to say what you
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      1      want to each parent, correct?

      2      A.    Yes.

      3      Q.    You knew from the wiretap that you had a September 15th

      4      call that showed how Mr. Wilson discussed things with

      5      Mr. Singer, correct?

      6      A.    Yes.

      7      Q.    And in that September 15th call, there's no use of the

      8      word "bribe", correct?

      9      A.    Correct.

03:26 10     Q.    There's no use of the word "false profile", correct?

     11      A.    Correct.

     12      Q.    There's no use of the phrase "fake athlete", correct?

     13      A.    Not that specific term, but there was a reference to one

     14      of his daughters was a sailor, even though she didn't sail.

     15      Q.    Mr. Singer made some reference along those lines.

     16      Mr. Wilson never used those words, correct?

     17      A.    Mr. Singer said that.

     18      Q.    Okay.   So when you told Mr. Singer, we want you to use the

     19      word "bribe", he wouldn't do it with Mr. Wilson, correct?

03:26 20     A.    He was reluctant to do it with any of the parents.

     21      Q.    Well, he certainly wouldn't do it with Mr. Wilson,

     22      correct?

     23      A.    He did not do it with Mr. Wilson.

     24      Q.    Okay.   Did you tell him we make the decisions in this

     25      investigation, we're instructing you, go in and use the word
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                                                                              191




 1     C E R T I F I C A T E

 2

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 4     UNITED STATES DISTRICT COURT )

 5     DISTRICT OF MASSACHUSETTS         )

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 7

 8                 We, Kristin M. Kelley and Kelly Mortellite, certify

 9     that the foregoing is a correct transcript from the record of

10     proceedings taken September 23, 2021 in the above-entitled

11     matter to the best of our skill and ability.

12

13

14           /s/ Kristin M. Kelley                       September 23, 2021

15           /s/ Kelly Mortellite                        September 23, 2021

16           Kristin M. Kelley, RPR, CRR                     Date
             Kelly Mortellite, RMR, CRR
17           Official Court Reporter

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